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PETERA.MOORE,JR.,CLERK                                UNITED STATES DISTPJCT COURT                  r---- --------

 Uf: ""''"".,.r· ... ~ ""' ,..,.,. l:'n~tl"'.   FOR THE EASTERN DISTRICT OF NORTH CAROLINA

                 KATHERINE HARRIS,                                  )
                                                                    )
                               Plaintiff,                           )
                                                                    )
                 v.                                                 )         Case No.   S: \S' ~ e.,\l' - \ 8 (o
                                                                    )
                 STATE OF NORTH CAROLINA;                           )
                 ROY COOPER in his official capacity as             )
                 Governor of North Carolina;                        )
                 NORTH CAROLINA DEPARTMENT                          )
                 OF PUBLIC INSTRUCTION,                             )
                 MARK JOHNSON, in his Official capacity as ~
                 Superintendent,                           )

                 CHERYL AUGER in her Official Capacity as      )
                 Executive Director of Human Resources of      )
                 Cabarrus County Schools, and in her           )
                 Individual Capacity                           )
                                                               )
                 GARY AUSTIN, in his Official Capacity as      )
                 special assistant to NC Treasurer, and in his )
                 Individ~al Capacity,                          )
                                                               )
                 BARRY SHEPHERD, in his Official Capacity )
                 as Superintendent of Cabarrus Count; Schools, )
                 and in his Individual Capacity                )



                                                             42 U.S.C. 1983




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                             § 42 u.s.c. 1983                       1------




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                               COMPLAINT



Section 1983 of Title 42 of the United States Code.



1. The above named defendants erred in denying Plaintiff the rights and privileges

secured by the Fourteenth Amendment of the United States Constitution, as

enumerated in Section 1983 of Title 42 of the United States Code.




This conduct was performed under color of law.

2. All named defendants have, to the best of my knowledge, waived their

immunity from tort liability pursuant to statutory authority.



Events leading to Violations

3. In 1992, Plaintiff was given a contract to perform as a teacher in the North

Carolina School System, and was emolled in the North Carolina Teachers' and State




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Employees' Retirement System. Over the span of more than two decades, Plaintiff

taug_ht in various schools. During that time, she regularly contributed to her account

with the above named system. At no time did the Plaintiff have a "Break in

Service". At no time did Plaintiff withdraw her funds from the system.

In 2007, Plaintiff was working under contract as a permanent teacher. As a result of

severe permanent injuries suffered in an automobile accident, Plaintiff became

disabled.




                     Benefits Denied I Employment terminated

With reckJess indifference to Plaintiff's Federally protected rights, the

Defendants, through to actions of various members the their staffs, denied

employment, income protection, and health insurance to Plaintiff.

Health benefits were restored, but there was never an explanation for the initial

denial. Defendants continue to deny all other benefits, forcing Plaintiff to engage in

this legal action.




Any further attempts at communication and/or resolution would be futile.

Despite every attempt on the part of the Plaintiff to meet with the officials




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responsible for these egregious and illegal actions, the Plaintiff has been denied

access to them.




Federal Statutes violated:

       The Family and Medical Leave Act,

       The Americans with Disabilities Act,

       The Rehabilitation Act of 1973

       The Civil Rights Act of 1964,

       Health Insurance Portability and Accountability Act



Plaintiff thereby pleads for the restoration of her benefits, and compensatory and

punitive damages in the amount that the court deems proper.



SEAL   '11aa-
        Katherine Harris
                        /~                   DATE      Y,,b- S°, / 2 O / <f-
kkwesell@gmail.com




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